      Case 17-10654-TPA                        Doc 104         Filed 08/05/22 Entered 08/05/22 12:27:59                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              HOLLY LYNN MEIER


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-10654TPA




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  M & T BANK                                                                       3

 Last 4 digits of any number you use to identify the debtor's account                         8   1   8   7

 Property Address:                             465 MILLBURN RD
                                               MERCER PA 16137 4998




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $     27,294.03

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $     27,294.03

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $     27,294.03



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $287.54
         The next postpetition payment is due on                 9 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     HOLLY LYNN MEIER                                                 Case number   (if known)   17-10654TPA
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    08/05/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     HOLLY LYNN MEIER                                         Case number   (if known)   17-10654TPA
             Name




                                            Disbursement History

Date         Check #    Name                                Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
07/26/2018   1087303    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             142.05
08/28/2018   1090517    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             464.31
09/25/2018   1093649    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             920.28
10/29/2018   1096898    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             200.09
11/27/2018   1100036    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             527.64
12/21/2018   1103141    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             527.64
01/25/2019   1106348    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             527.64
02/25/2019   1109599    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             527.64
03/25/2019   1112892    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             527.64
04/26/2019   1116183    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             527.64
05/24/2019   1119583    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             538.04
06/25/2019   1122980    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             538.04
07/29/2019   1126427    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             546.36
08/27/2019   1129895    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             546.36
09/24/2019   1133201    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             546.36
10/24/2019   1136529    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             532.84
11/25/2019   1139999    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             532.84
01/28/2020   1146837    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                           1,069.84
02/25/2020   1150362    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             534.92
03/23/2020   1153845    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             534.92
04/27/2020   1157305    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             534.92
05/26/2020   1160643    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             495.40
06/26/2020   1163781    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             674.14
07/29/2020   1166901    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             570.40
08/25/2020   1169979    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             570.40
09/28/2020   1173063    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             570.40
10/26/2020   1176152    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
11/24/2020   1179229    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
12/21/2020   1182182    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
01/25/2021   1185146    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
02/22/2021   1188271    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
03/26/2021   1191550    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
04/26/2021   1194810    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
05/25/2021   1197943    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
06/25/2021   1201126    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             584.96
08/26/2021   1207450    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                           1,284.32
10/25/2021   1213646    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                           1,244.80
11/22/2021   1216682    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
12/23/2021   1219749    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
01/26/2022   1222818    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
02/23/2022   1225703    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
03/25/2022   1228656    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
04/26/2022   1231702    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
05/25/2022   1234743    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
06/27/2022   1237764    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             622.40
07/26/2022   1240709    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             292.32
                                                                                                                   27,294.03

MORTGAGE REGULAR PAYMENT (Part 3)
11/08/2017              M & T BANK                          REALLOCATION OF CONTINUING DEBT                          458.72
11/21/2017   1061353    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            412.86
12/21/2017   1064634    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            385.28
01/25/2018   1068072    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            393.77
02/23/2018   1071247    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            525.32
03/28/2018   1074442    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            669.62
04/24/2018   1077678    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            720.12
05/25/2018   1080939    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            736.42
06/22/2018   1084086    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            371.34
07/26/2018   1087303    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            371.34
08/28/2018   1090517    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            455.97
10/29/2018   1096898    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            714.99
11/27/2018   1100036    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            387.44
12/21/2018   1103141    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                            387.44

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             Name




                                            Disbursement History

Date         Check #    Name                                Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
01/25/2019   1106348    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
02/25/2019   1109599    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
03/25/2019   1112892    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
04/26/2019   1116183    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
05/24/2019   1119583    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
06/25/2019   1122980    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
07/29/2019   1126427    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
08/27/2019   1129895    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
09/24/2019   1133201    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
10/24/2019   1136529    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
11/25/2019   1139999    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
12/23/2019   1143381    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
01/28/2020   1146837    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
02/25/2020   1150362    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
03/23/2020   1153845    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
04/27/2020   1157305    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
05/26/2020   1160643    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
06/26/2020   1163781    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
07/29/2020   1166901    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
08/25/2020   1169979    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
09/28/2020   1173063    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
10/26/2020   1176152    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
11/24/2020   1179229    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
12/21/2020   1182182    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
01/25/2021   1185146    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
02/22/2021   1188271    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
03/26/2021   1191550    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
04/26/2021   1194810    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
05/25/2021   1197943    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
06/25/2021   1201126    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
07/26/2021   1204327    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
08/26/2021   1207450    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
09/24/2021   1210568    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
10/25/2021   1213646    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
11/22/2021   1216682    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
12/23/2021   1219749    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
01/26/2022   1222818    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
02/23/2022   1225703    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
03/25/2022   1228656    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
04/26/2022   1231702    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
05/25/2022   1234743    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
06/27/2022   1237764    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             387.44
07/26/2022   1240709    M & T BANK                          AMOUNTS DISBURSED TO CREDITOR                             287.54
                                                                                                                   23,550.65




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

HOLLY LYNN MEIER
465 MILLBURN ROAD
MERCER, PA 16137

DANIEL P FOSTER ESQ**
FOSTER LAW OFFICES
1210 PARK AVE
MEADVILLE, PA 16335

M & T BANK
ATTN PAYMENT PROCESSING
POB 1288
BUFFALO, NY 14240-1288

BRIAN C NICHOLAS ESQ
KML LAW GROUP PC
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




8/5/22                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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